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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Adam Gray
                                     Plaintiff,
v.                                                        Case No.: 1:18−cv−02624
                                                          Honorable John Z. Lee
Elizabeth K. Barton, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 1, 2020:


        MINUTE entry before the Honorable Beth W. Jantz:Telephonic status hearing set
for 10/9/2020 at 10:15 a.m. To join the call, counsel shall dial 888−273−3658 and enter
access code 2217918. Members of the public and media will be able to call in to listen to
this hearing. Persons granted remote access to proceedings are reminded of the general
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Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. (rbf, )




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